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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                            ORDER

       The above-captioned matters were consolidated on April 22, 2019, to the extent that the

plaintiffs, the Electronic Privacy Information Center (the “EPIC plaintiff”) and Jason Leopold

and Buzzfeed Incorporated (collectively, the “Leopold plaintiffs”), are “seeking the release of the

Special Counsel Robert Mueller’s report regarding the investigation into Russian interference in

the 2016 United States presidential election” (the “Mueller Report”). Order at 2 (Apr. 22, 2019),

ECF No. 33, Electronic Privacy Information Center v. U.S. Dep’t of Justice, Civ. Action No. 19-

810. On June 3, 2019, the United States Department of Justice, on behalf of itself and its Office
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of the Attorney General, Deputy Attorney General, and Office of the Special Counsel

(collectively, the “Department of Justice”), filed a motion for summary judgment. See generally

Department of Justice’s Motion for Summary Judgment in Leopold v. Department of Justice and

Partial Summary Judgment in Electronic Privacy Information Center v. Department of Justice.

Thereafter, the EPIC plaintiff and the Leopold plaintiffs separately filed their own cross-motions

for summary judgment and their oppositions to the Department of Justice’s motion for summary

judgment. See generally Plaintiff’s Combined Opposition to Defendant’s Motion for Partial

Summary Judgment, Cross-Motion for Partial Summary Judgment, and Motion for In Camera

Review of the “Mueller Report,” ECF No. 71; Plaintiffs Jason Leopold’s and Buzzfeed Inc.’s

Motion for Summary Judgment, ECF No. 73.

       On June 28, 2019, Citizens for Responsibility and Ethics in Washington (“CREW”) filed

a motion for leave to file a brief as amicus curiae “in opposition to the Department of Justice’s

motion for summary judgment and in support of [the] [p]laintiffs’ motions for summary

judgment.” Motion of Citizens for Responsibility and Ethics in Washington for Leave to File a

Brief as Amicus Curiae (“Mot. for Leave”) at 1. CREW represents that, as a nonprofit,

nonpartisan corporation that “seeks to protect the rights of citizens to be informed about the

activities of government officials and to ensure the integrity of those officials,” it “frequently

files and litigates Freedom of Information Act (“FOIA”) requests, including requests for records

relating to criminal and civil investigations,” and that it specifically “has engaged in public

education concerning the Special Counsel regulations as well as the issues that Special Counsel

[ ] Mueller investigated.” Id. at 2. CREW asserts that its “proposed amicus brief offers a

perspective offered by neither party regarding the application of the deliberative process

privilege to the [Mueller] Report.” Id. Specifically, it claims that in



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        determining whether portions of the [Mueller] Report are predecisional or
        deliberative and therefore subject to withholding under Exemption 5 of the FOIA
        and the deliberative process privilege, the Court must consider the authority that
        Acting Attorney General [Rod] Rosenstein delegated to the Special Counsel, the
        Special Counsel regulations, and the relationship between the [Mueller] Report and
        the decisions reached by the Special Counsel.

Id. CREW also contends that its “participation in this matter as an amicus curiae would not

unduly delay the Court’s ability to rule on the parties’ cross motions [for] summary judgment”

because the briefing of dispositive motions will not be complete until July 15, 2019. Id. at 2–3.

        The Department of Justice argues in response that “CREW’s motion for leave to

participate as amicus should be denied” for several reasons. Defendant’s Opposition to CREW’s

Motion for Leave to File a Brief as Amicus Curiae (“Def.’s Opp’n”) at 4. First, it contends that

the plaintiffs are “already represented by able counsel,” who “have litigated dozens, if not

hundreds, of FOIA cases over a number of years” and who “do not need a third-party advocacy

organization to assist them in arguing against the application of ordinary FOIA exemptions, such

as Exemption 5.” Id. at 1–2. Second, the Department of Justice argues that because the

“plaintiffs’ oppositions and cross-motions for summary judgment already thoroughly address

Exemption 5,” id., and because “[h]ow competent counsel choose to frame [the Exemption 5]

argument is [within] their litigation judgment,” “CREW’s desire to argue the same issue in a

supposedly different way is not a valid basis to participate as amicus,” id. at 2. According to the

Department of Justice, CREW’s proposed amicus brief is not helpful to the Court in adjudicating

the parties’ claims because it does not “offer[] unique information or perspective . . . that is not

otherwise before the Court.” Id. at 3. Third, the Department of Justice urges the Court to

consider “CREW’s status as a non-neutral and frequent FOIA requester that proposes to join

forces with the two FOIA requesters already in the case,” id., and argues that “CREW’s interest

in the case is not sufficiently distinct from [the] plaintiffs’ [interest such] that it would assist the

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Court in resolving the pending motions,” id. at 1–2. Finally, the Department of Justice argues

that “CREW’s motion prejudices [it] . . . [and] comes too late in the briefing to permit a timely

response.” Id. at 2. Specifically, the Department of Justice contends that because it must file its

opposition to the plaintiffs’ cross-motions for summary judgment and its reply in support of its

motion for summary judgment on July 8, 2019, it “has insufficient time in which to review the

amicus brief and respond to it,” id. at 4 (claiming that “[b]ased on the local rules, the

[Department of Justice] is entitled to fourteen days to respond to CREW’s motion” (emphasis

added)), and that “[a]ny such response would [ ] come at the expense of [the] page limitation [on

its opposition and reply], which is already stretched from responding in one brief to the [ ]

plaintiffs’ [separate] [cross-motions],” id.

       Local Civil Rule 7 requires that a motion for leave to file an amicus curiae brief “state the

nature of the movant’s interest; identify the party or the parties supported, if any; and set forth

the reasons why an amicus brief is desirable, why the movant’s position is not adequately

represented by a party, and why the matters asserted are relevant to the disposition of the case.”

LCvR 7(o)(2). Courts have “broad discretion to permit the proposed intervenor[] to participate

as [an] amic[us] curiae.” District of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227,

237 (D.D.C. 2011). A court may grant a motion for leave to participate as amicus curiae “if the

information offered is timely and useful,” Ellsworth Assocs., Inc. v. United States, 917 F. Supp.

841, 846 (D.D.C. 1996) (citation omitted), but the motion must “be filed in a timely manner such

that it does not unduly delay the Court’s ability to rule on any pending matter,” LCvR 7(o)(2).

       The Court concludes that permitting CREW to file its proposed amicus brief is

appropriate. As an initial matter, the Department of Justice is correct that the plaintiffs have

already addressed Exemption 5. However, although the Court does not question that the



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plaintiffs “are represented by able and experienced counsel,” Def.’s Opp’n at 2, the Court does

not agree with the Department of Justice that CREW’s proposed amicus brief does not “offer[]

unique information or perspective.” Def.’s Opp’n at 3. Contrary to the Department of Justice’s

contention that CREW’s proposed amicus brief “is not helpful to the Court,” Def.’s Opp’n at 3,

the proposed amicus brief supports and expands upon the arguments raised by the plaintiffs in

their cross-motions and oppositions. Compare Memorandum of Points and Authorities in

Support of Plaintiff’s Combined Opposition and Cross-Motion for Partial Summary Judgment,

Summary Judgment and Motion for In Camera Review of the “Mueller Report” at 31–35, ECF

No. 71-1, and Plaintiffs Jason Leopold’s and Buzzfeed Inc.’s Combined Memorandum in

Support of Their Motion for Summary Judgment and in Opposition to Defendants’ Motion for

Summary[ ]Judgment at 46–50, ECF No. 73-1, with Brief of Citizens for Responsibility and

Ethics in Washington as Amicus Curiae in Support of Plaintiffs’ Motions for Summary

Judgment, ECF No. 23-1. In fact, given CREW’s “familiarity and knowledge of the issues

raised [in this case],” Ellsworth Assocs., Inc., 917 F. Supp. at 846; see also Potomac Elec. Power

Co., 826 F. Supp. 2d at 237 (permitting organizations to participate as amici curiae because they

had “relevant expertise,” and therefore “the Court . . . may benefit from their input in evaluating

the proposed consent decree” at issue), CREW’s amicus brief may aid the Court in determining

whether the Department of Justice has appropriately withheld information from the Mueller

Report under Exemption 5 of the FOIA and the deliberative process privilege. See Nat’l Ass’n

of Home Builders v. U.S. Army Corps of Engineers, 519 F. Supp. 2d 89, 93 (D.D.C. 2007)

(permitting an organization’s participation as amicus curiae because the organization “s[ought]

to support the government’s arguments . . . , [and thus,] the court may benefit from [its] input”).

The Court also finds that CREW’s motion is timely and will not unduly delay the Court’s



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consideration of the parties’ cross-motions for summary judgment given that CREW’s proposed

amicus brief will enhance the Court’s ability to more efficiently resolve the numerous issues

raised in the parties’ submissions. However, to eliminate any prejudice that might result if the

Department of Justice were not given sufficient time and opportunity to respond to the arguments

raised in CREW’s amicus brief, and to avoid any further delay caused by the Department of

Justice having to request an extension of time to file a reply in support of its motion for summary

judgment and opposition to the plaintiffs’ cross-motions for summary judgment and CREW’s

amicus brief, the Court will grant the Department of Justice additional time and pages to

adequately address the arguments raised in CREW’s amicus brief. Accordingly, it is hereby

       ORDERED that the Motion of Citizens for Responsibility and Ethics in Washington for

Leave to File a Brief as Amicus Curiae, ECF No. 75, is GRANTED. It is further

       ORDERED that the Brief of Citizens for Responsibility and Ethics in Washington as

Amicus Curiae in Support of Plaintiffs’ Motions for Summary Judgment, ECF No. 75-2, is

ACCEPTED AS FILED. The Clerk of the Court shall file ECF No. 75-2 as a separate entry on

the docket. It is further

       ORDERED that the summary judgment briefing schedule is MODIFIED as follows:

           1. the Department of Justice, on or before July 12, 2019, shall file one submission

               that shall include (1) its reply in support of its motion for summary judgment, if

               any, and (2) a combined opposition to the EPIC plaintiff’s cross-motion for

               summary judgment, the Leopold plaintiffs’ cross-motion for summary judgment,

               and CREW’s amicus brief; and

           2. the plaintiffs, on or before July 19, 2019, shall jointly file a combined reply in

               support of their cross-motions for summary judgment.



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       It is further

       ORDERED that the page limitation prescribed in Local Civil Rule 7(e) is WAIVED

with respect to the Department of Justice’s forthcoming reply in support of its motion for

summary judgment and opposition to the plaintiffs’ cross-motions for summary judgment and

CREW’s amicus brief. The Department of Justice’s reply in support of its motion for summary

judgment and opposition to the plaintiffs’ cross-motions for summary judgment and CREW’s

amicus brief shall not exceed fifty-five (55) pages.

       SO ORDERED this 5th day of July, 2019.


                                                            REGGIE B. WALTON
                                                            United States District Judge




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